      Case 4:22-cv-00531 Document 27 Filed on 01/27/23 in TXSD Page 1 of 3
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                         January 27, 2023
                        IN THE UNITED STATES DISTRICT COURT                             Nathan Ochsner, Clerk
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

MIDFIRST BANK,                                   §
                                                 §
        Plaintiff,                               §
                                                 §
v.                                               §          Civil Action No. 4:22-cv-00531
                                                 §
RICHARD L. YANCHUS, RICHARD                      §
JOHN FRANK, and MICHELL RUTH                     §
ZOLNIER,                                         §
                                                 §
       Defendants.                               §

                           ORDER GRANTING PLAINTIFF’S
                       MOTION FOR FINAL SUMMARY JUDGMENT

       The Court has entered its Memorandum and Order that the Motion for Summary

Judgment (the “Motion”) filed by Plaintiff MidFirst Bank (“Plaintiff” or “MidFirst”) be granted

in its entirety [ECF No. 24]. It is therefore,

       ORDERED, ADJUDGED and DECREED that event of default has occurred on that

certain Note in the principal amount of $142,956.00 (“Note”), executed by Decedent Carol J.

Yanchus and Richard L. Yanchus (“Borrowers”) on or about June 24, 2010, originally payable to

PrimeLending, a PlainsCapital Company (“PrimeLending”). It is further,

       ORDERED, ADJUDGED and DECREED that certain Deed of Trust (“Security

Instrument”) dated June 24, 2010, recorded        in the official public records of Montgomery

County, Texas, as Document No. 2010055736, and signed by Borrowers, provides that Plaintiff,

as the current owner and holder of the Note and beneficiary of the Security Instrument, in the

event of default on the obligations on the Note, with a first lien security interest on that certain

real property commonly known as 7014 Casita Drive, Magnolia, Texas 77354-3190, and more

particularly described as follows:

ORDER GRANTING PLAINTIFF’S MOTION FOR FINAL SUMMARY JUDGMENT                          PAGE 1
MWZM: 21-000178-365
      Case 4:22-cv-00531 Document 27 Filed on 01/27/23 in TXSD Page 2 of 3




           LOT TWENTY-FOUR (24), BLOCK TWO (2), OF AMENDING PLAT OF
           DURANGO CREEK, SECTION 3, BEING A SUBDIVISION OF 12.587
           ACRES OF LAND IN THE JOHN DORSEY, SURVEY, A-169,
           MONTGOMERY COUNTY, TEXAS, ACCORDING TO THE MAP OR PLAT
           THEREOF RECORDED IN CABINET Z, SHEET 1023 (FORMERLY
           CABINET Z, SHEET 400) OF THE MAP RECORDS OF MONTGOMERY
           COUNTY, TEXAS. (The “Property”).
           It is further,

           ORDERED, ADJUDGED AND DECREED that MidFirst is the current owner and

holder of the Note specially endorsed and beneficiary of the Security Instrument. It is further,

           ORDERED, ADJUDGED AND DECREED that MidFirst is a mortgagee of the Loan

Agreement, as defined by Texas Property Code § 51.0001(4). It is further,

           ORDERED, ADJUDGED AND DECREED that the following are secured by the

Security Instrument on the Property: the outstanding balance of the Note, which was at least

$124,974.44 as of September 29, 2022, plus attorney’s fees; prejudgment interest at the rate of

5.000%; post-judgment interest at the rate of 5.000% per year; and costs of the court. It is

further,

           ORDERED, ADJUDGED AND DECREED that due to event of default on the Note,

MidFirst, or its successors or assigns, may enforce its security interest against the Property

through non-judicial foreclosure of the Property as provided in the Security Instrument and

section 51.002 of the Texas Property Code. It is further,

           ORDERED, ADJUDGED AND DECREED that the purchaser at the foreclosure sale

authorized by this order will be vested with full ownership in the Property including all interest

held by Defendants. It is further,

           ORDERED, ADJUDGED AND DECREED that Plaintiff may further communicate

with the Defendant and all third parties reasonably necessary to conduct the foreclosure sale. It is

further,

ORDER GRANTING PLAINTIFF’S MOTION FOR FINAL SUMMARY JUDGMENT                          PAGE 2
MWZM: 21-000178-365
      Case 4:22-cv-00531 Document 27 Filed on 01/27/23 in TXSD Page 3 of 3




       ORDERED, ADJUDGED AND DECREED that all foreclosure notices may be mailed

to the subject property at 7014 Casita Drive, Magnolia, Texas 77354-3190. It is further,

       ORDERED, ADJUDGED AND DECREED that Plaintiff shall have and recover its

attorneys’ fees in the amount of $9,426.16. The attorneys’ fees will not be a personal judgment

against Defendants, but solely recoverable as a further obligation owed under the Note and

Security Instrument It is further,

       ORDERED, ADJUDGED AND DECREED that this is a final judgment that fully and

finally disposes of all parties and all claims between Plaintiff and Defendants. Any relief not

granted herein is DENIED.

                    27
       Signed this _______           January
                           day of ____________________,  2023 at Houston, Texas..
                                                        _______



                                                    Lee H. Rosenthal
                                                    United States District Judge




ORDER GRANTING PLAINTIFF’S MOTION FOR FINAL SUMMARY JUDGMENT                        PAGE 3
MWZM: 21-000178-365
